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                                                             [Doc. No. 8]

                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

  THE HOMESOURCE, CORP.,
                     Plaintiff,

       v.                              Civil No. 18-11970-JBS-KMW
  RETAIL WEB SERVICES, LLC,

                        Defendant.



                                   ORDER

      This matter having been brought before the Court by Matthew

A. Lipman, Esquire, of McElroy, Deutsch, Mulvaney & Carpenter,

LLP, counsel for Defendant, Retail Web Services, LLC, for an Order

allowing Adam Wolek, Esquire, to appear and participate pro hac

vice; and the Court having considered the moving papers; and there

being no opposition to this application; and for good cause shown

pursuant to Local Rule 101.1(c), United States District Court for

the District of New Jersey;

      IT IS this 7th day of September, 2018 hereby

      ORDERED that Adam Wolek, Esquire, a member of the Bar of

Illinois, inter alia, be permitted to appear pro hac vice in the

above-captioned matter in the United States District Court for the

District of New Jersey pursuant to Local Rule 101.1(c); provided,

however, that all pleadings, briefs and other papers filed with
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the Court shall be signed by Matthew A. Lipman, Esquire, or another

attorney associated with McElroy, Deutsch, Mulvaney & Carpenter,

LLP, who is a member in good standing with the Bar of the Supreme

Court of New Jersey and the Bar of this Court, who shall be held

responsible for said papers and for the conduct of the case, and

who shall be present before the Court during all phases of this

proceeding, unless expressly excused by the Court, as well as be

held responsible for the conduct of the attorney admitted pro hac

vice pursuant to this Order; and it is further

      ORDERED that, pursuant to L. CIV. R. 101.1(c)(2), Adam Wolek,

Esquire, shall pay the annual fee to the New Jersey Lawyers' Fund

for Client Protection in accordance with New Jersey Court Rule

1:28-2 within twenty (20) days from the date of the entry of this

Order, enclosing with payment a completed Form PHV-15, which can

be found at njcourtsonline.com; and it is further

      ORDERED that, pursuant to L. CIV. R. 101.1(c)(3), Adam Wolek,

Esquire, shall make a payment of $150.00 on each admission, payable

to the Clerk, United States District Court; and it is further

      ORDERED that Adam Wolek, Esquire, shall be bound by the

General and Admiralty Rules of the United States District Court

for the District of New Jersey, including but not limited to the

provisions of Local Rule 103.1, Judicial Ethics and Professional

Responsibility, and Local Rule 104.1, Discipline of Attorneys; and

it is further
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      ORDERED that, pursuant to L. CIV. R. 101.1(c)(4), Adam Wolek,

Esquire, shall be deemed to have agreed to take no fee in any tort

case in excess of the New Jersey Court Contingency Fee Rule, Rule

1:21-7, as amended.

                                   s/ Karen M. Williams
                                   KAREN M. WILLIAMS
                                   United States Magistrate Judge

cc:   Hon. Jerome B. Simandle
